ousing Unit

beer Sif vershain

To: Chiat Tidea. ayes pied Us. funkesaliy Cebot: st Delawore

Missed oxen Barns in Department

Request For: Bg Appointment C] information [Services Other: Zoomgovicom herring

Summary (Please Print): Youn hanour, by Way of introduasion, L ant jeur LiSA-

Cala Bi Z0~-(O0944-LIS) Doc 695-7; Fileds LeMay 20 by, satatas, SDD ¢ {om LOM,
Pinin olisat#O0U04", Omni Agent SolvTivas, Lad etiNiD~7079~7-CIA" ESIC,
Please, file ints court record wntlised adhoc complaint L have Eitad ww/h
ALY. SAfe Fir, Please convane a Tale Justiae. heeciagexpartle hearing

oF SIS firms a Se euling Seitlameaat Trval, and Omas ‘Age.al Solahionak Bar,
Te schedule. Ja apy: ‘Ms.Conn vai 434,77 T2000, Emuilnolioy poblios *

william. price@vadoc.virginta gov, cherilauwiliame © avec, virgioi @.G0Y,
Thsok Yue sper not attach additional pages and do not write below this line

Email Bee Response
Request sent to correct department [_] Yes ["] No Date

DB arsact agras rormited t-
PROM UE De Ware beiVUIEe le.
Inmate seen (_] Yes [[] No

Re sponse:

DCAD KS (0) ys) Seed

Case 20-10343-LSS Doc11722 Filed 01/12/24 Page 2 of 6

NASSAU AND SUFFOLK COUNTIES
COMPLAINT

eA Bete

Bar Association
Mail to: NOTE: Send in this form if you wish to file a formal complaint that a lawyer/Jaw 47a
has acted unethically. The Complaint might result in discipline to the lawyers ©” dipm,
If you are seeking other remedies against the lawyer, you may need to seek
aes Hite Sree ba Ee legal advice from a lawyer in private practice. Also, the Bar may require
‘ eee - your further involvement in an investigation of your complaint by asking you

Sepa RE SS to be interviewed by a Bar investigator and/or to a at a hearing.

Kr Yor: Seata Der Teacistian Complaints, 1 bik Stree ee NY 12207 and the Regional Office of

Attorney Grievance Committee for the Tenth Naticial District, 150 Motor Parkway, Suite 102, Hauppauge, NY 11788

a a

MewaetEmris/irivenMahey:lelis, ridney@yadoc, Virginia Gov, Se Correctional Centre :
¥ (Physi palJads Green Rock Ln. (Smail)3521 Woods Way = home (49 1797 2p0
T1.

C) work

www. Vadoc. visitme.cam/app.
(itil emailation,arcan a-pysical ae sted Other Telephone No. and
j ring y times you can be reached:

C) home ( )

ee on. ein: 2): a 3) Jessica.

first iepiticg)

Settlement Admin.: Omni Agent Solutions, Case# ee

lawver's law jirm, if known

Rd., Ste. 419

com.
Email: Habanee
fmail:aslate fim. can

(Continue on the back
explain your complaint.)

ee pe c222 01005,
" COMPLAINT MUST BE SIGNED AND DATED

WILLIAM L. PRICEurn this form over for more information we need from you to analyze your complaint. —>
NOTARY PUBLIC

. 4 Commonwealth of Virginia

Registration #7yi 7748

My Commission Ex, ca July 31, 2028

Was CPR &
Case 20-10343-LSS Doc11722 Filed 01/12/24 Page 3of6

eu! Yorks
16 Jul 21611304 3, I filed a certified- seni silt 4 Complaint.... Page 2

letter, $7.16, Tracking# 701911200008159-
Ke + 533234, to_ immediately contact me.

The letter was duly received, 19 Jul 21@1331. No_response!

% ih i A VY “it L nN Co
= sinters 0 cecaieal nein a ki co dean I didn't understand. I reached out to SSS,3 Nov 21.

No response. SSS, Heh’ telephone nor visit me. I felt. trapped, between confusion and deadlines,

Ud Len Ona igen O DELD me

» again I fewoazied to be rea by Judge Sierensin, and have Bar stepin,

dhe law Clears ruled, SSS, is guilty of 1 malpra ity
1. Have you or a member of your family sanpiained to us aad this ity before?
If yes, please state when you complained and the outcome of that complaint.

2. Have you filed a complaint or legal action about this matter anywhere else? CI Yes @ No
If yes , state where and the outcome.

3, Did von hire this lawyer? [ives  WBENo Ifyes , give the approximate date you employed him/her, the nature
of your legal case, and estimate how much money, if any, you paid him/her.

4. If you did not hire the lawyer, what is your connection with the lawyer?_This is a really goodquestion! I was at_

Sussex IT SP_paying at Sctention to abeentter to atty TV ads. Thad wrtten several, without any responses. Unsolicited
SSS fim, contacted me Is ted of i i

What Ages NY have? 5. Is your complaint only that you th ink the lawyer changed s you "100 much?

sili. oe

6. Have you read the pamphlet describing the Bar's complaint process? Ch Yes @ No
Tiefae 5 vs retain Gauoase Be fipes nad 6a a bade ae eV = + deed

utitness Fo? a8

she, At Bg fof ia Ife a7 Me uth BOA’ RECEIVED

IRGINIA

| aN na anne
os DEPARTMENT OF CORRECTIONS | IAN 03 202
LZREATMENT)

‘
3
€
i
5
t

acility Request 801_F3_2-22

Emas}-lejsa pidney@vadss.virginiagov
, v 7 ‘I Racility

Reqabae

Please print your name, DOC number, housing assignment and a brief summary of your request in the space provided
2 below and place this form in appropriate facility mailbox for delivery through the facility mail. Staff may return your
request unanswered or reroute your request to the appropriate department or individual if you submitted your request to
the wrong department of individual or if you sent duplicate requests to the same or multiple departments or individuals.

Name: DOC Number: a
Housing Date: OF Te Z27@ C665 pyre
or Lreatn as N7

Department

To:

Staff Member Name

Summary (Please Print): Lnerd help urith papers LecesveP NY Bar

*

as

fo

Request For: (J) Appointment ‘1 Information CI Services Other:

Fd and Ken

Do not attach additional pages and do not write below this line

Facility Response
Request sent to correct department [] yes [J No Date:

Request was rerouted to:
Inmate seen (J Yes CJ No

Response:

Staff Respondent Name Date of Response

AAT er aP. Bl Ln wy Olen @0).d: 870 BO) TS ICAU AY O11 Oye Per A

ov

th’ 3

wd ms anh,

29 Ig @ Sivare
N

wu4S ayhpe

wvassel

Please print your name, DOC number,

Staff Member Name

Request For

Nia

(] Appointment

clVy ee

uaeebaiieer OF CORRECTIONS

.cidnayCves ea.virginia:
Faci

AE. ___ or

Dd Information

y Regwee!

() Services

oR DIES APE LARS RES

Department

Other:

TREATM T!

housing assignment and a brief summary of your fr
below and place this form in appropriate facility mailbox for delivery through the facility mail. Staff may return your

request unanswered or reroute your request to the appropriate department or individual if you submitted your request to
the wrong department or individual or if you sent duplicate requests to the same or multiple departments or individuals.

Date: Ol TZ 2 Ob FO bye
Traatinant-

Summary (Please Print): gee eae LOR ELE 2 ,

GS.
- Dee
Th Ls nood (z for MOY

— only eater

Fadacy LSld9.

[pf t.

BSA Casa#Z0-JO94B-L 99
shaun!
, 8444 Mh. fing

F of Seen

ders
wis Baten

"RECELVER. uest xOl_F3_2-22

ce provided

Selher Whee otiin —

Stn, Lockbav iB. aera
WW using, BE L9901-35 o.. Felephona' 1 302 5136/70

Do not attach additional pages and do not write below this line

Facility Response

Request sent to correct department [_] Yes ([] No

TP 4 mee not te ee esarrtitsd ¢--
PeYUCS Was Ieivlicu tv.

Inmate seen [-] Yes (_] No

Response:

Staff Responde ont Name

Date __

ee AAT Ce) i WB) 7-V GY | EO) oe O8):2:1 108 BO) KY

~ Date of Response

CAV AYE Ost ae

RIP:

Fi
GREENSBORO NC 270
PLEDMONT TKIAD AREA
8 3JAN 2024 PM5 L

co U.S. Ban rupi
Oo an
© Chink Jud 72. nuit Ko Niverstein
— @ redera Building/Federal Courts
S 344 North King Street
Wilmington, DE 19801 — 3576
ost
ow
a
Pe
od
Oo
3
i
N
N
qe (SEOi-Bsiges bsoHLEEY aa gendueg! foal pelo elldyinasbalHl ad dahnenildescgeesf il
a
oO
oO
a
wn
oy
0
st
CO
3
am
oO
N
 ®w
— «B
O
